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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA


KIONA JACKSON,                             Case No.: 3:16-cv-00488-BJD-JRK
             Plaintiff,
                                           NOTICE OF SETTLEMENT OF
      vs.                                  ENTIRE ACTION

CREDIT PROTECTION
ASSOCIATION, L.P., a foreign
corporation; and DOES 1 to 10,
inclusive,
             Defendant(s).

      NOW COMES Plaintiff, KIONA JACKSON, by and through the

undersigned counsel, and hereby notifies this Honorable Court that the parties have

reached an agreement to settlement the instant matter in its entirety. The parties,

through counsel, are working cooperatively to consummate the settlement as

expeditiously as possible and Plaintiff anticipates filing a Fed. R. Civ. P. 41

voluntary dismissal, with prejudice, within sixty (60) days.

                                       RESPECTFULLY SUBMITTED,

Dated: May 3, 2016                     CRUMLEY & WOLFE, P.A.
                                       By: /s/ Benjamin H. Crumley
                                       Benjamin H. Crumley
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                                                               NOTICE OF SETTLEMENT
